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10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
12

13 UNITED STATES OF AMERICA,                         ) CASE NO. 19-CR-287-CRB-1
                                                     )
14           Plaintiff,                              ) UNITED STATES’ SENTENCING
                                                     ) MEMORANDUM
15      v.                                           )
                                                     )
16 JOSE ARTEAGA-VASQUEZ,                             )
     a/k/a “Joseph,”                                 )
17                                                   )
          Defendant.                                 )
18                                                   )
                                                     )
19

20           The United States submits this sentencing memorandum. Defendant was charged in a multi-
21 count superseding indictment with 10 controlled substance violations. The charges included conspiracy

22 to distribute and possess with intent to distribute cocaine and 100 grams or more of heroin (Count 1) and

23 distribution of 100 grams or more of heroin (Count 8). Pursuant to a plea agreement, Defendant pled

24 guilty to Count 8 of the superseding indictment. See Doc. 56 (Plea Agreement).

25           As calculated in the PSR, Defendant was responsible for distributing about 691 grams of heroin
26 and 54 grams of cocaine (PSR, ¶ 25), which are not insignificant amounts. Drugs are a scourge that ruin

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     GOVERNMENT SENTENCING MEMORANDUM                1
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1 lives and families. The United States asks that the Court impose a sentence that reflects the seriousness

2 of Defendant’s unlawful conduct, while taking into account Defendant’s difficult upbringing.

3

4 DATED: September 22, 2020                                    Respectfully submitted,

5                                                              DAVID L. ANDERSON
                                                               United States Attorney
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7
                                                                      /S/
8                                                              RYAN REZAEI
                                                               Assistant United States Attorney
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     GOVERNMENT SENTENCING MEMORANDUM               2
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